                          Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 1 of 10
AO 245B (Rev. 09/19)    Judgment in a Criminal Case   IRUPPRGLILHGZLWKLQ'LVWULFWRQ6HSW
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                         Southern District
                                                      __________   Districtofof
                                                                              New York
                                                                                __________
                                                                               )
              UNITED STATES OF AMERICA                                         )         JUDGMENT IN A CRIMINAL CASE
                         v.                                                    )
                       ALEJANDRO PAULINO                                       )
                                                                               )         Case Number: 19 cr 00607 AJN-002
                                                                               )         USM Number: 87061-054
                                                                               )
                                                                               )          BENNETT M. EPSTEIN & SARAH M. SACKS
                                                                               )         Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                     1
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                              Offense Ended            Count
18 USC 1344                        CONSPIRACY TO COMMIT BANK FRAUD                                                2/28/2019            1




       The defendant is sentenced as provided in pages 2 through                    10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s)
G                2&3                                      G is        ✔ are dismissed on the motion of the United States.
                                                                      G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                10/21/2020
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge




                                                                                               ALISON J. NATHAN, U.S.D.J
                                                                             Name and Title of Judge


                                                                                                           
                                                                             Date
                         Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 2 of 10
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   10
 DEFENDANT: ALEJANDRO PAULINO
 CASE NUMBER: 19 cr 00607 AJN-002

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  The Defendant is sentenced to a term of TIME SERVED.

 Defendant is notified of his right to appeal.



      G The court makes the following recommendations to the Bureau of Prisons:




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                          Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 3 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3     of       10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 4 YEARS.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G✔ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G✔ You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of        10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
 After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
 You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
 You must answer truthfully the questions asked by your probation officer.
 You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
 You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
    aware of a change or expected change.
 You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
 If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
 <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3B — Supervised Release
                                                                                             Judgment—Page    5     of       10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 1. You must provide the probation officer with access to any requested financial information.

 2. You must not incur new credit charges or open additional lines of credit without the approval of the probation officer
 unless you are in compliance with the installment payment schedule.

 3. You shall submit your person, and any property, residence, vehicle, papers, computer, other electronic communication,
 data storage devices, cloud storage or media, and effects to a search by any United States Probation Officer, and if
 needed, with the assistance of any law enforcement. The search is to be conducted when there is reasonable suspicion
 concerning violation of a condition of supervision or unlawful conduct by the person being supervised. Failure to submit to
 a search may be grounds for revocation of release. You shall warn any other occupants that the premises may be subject
 to searches pursuant to this condition. Any search shall be conducted at a reasonable time and in a reasonable manner.

 4. If you are sentenced to any period of supervision, it is recommended that you be supervised by the district of residence.

 5. The Defendant shall pay a special assessment of $100 immediately.

 6. The Defendant shall pay restitution to Bank of America in the amount of $142,634, as set forth in the order of restitution
 signed by the Court.

 7. No fine is imposed.

 8. The Defendant shall forthwith forfeit any and all property constituting or derived from, proceeds obtained directly or
 indirectly, as a result of the commission of the offense charged in Count One of the Indictment.
                        Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 6 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3C — Supervised Release
                                                                                                 Judgment—Page     6     of      10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002

                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
 of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
 within a different time frame.

 2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
 how and when you must report to the probation officer, and you must report to the probation officer as instructed.

 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
 permission from the court or the probation officer.

 4. You must answer truthfully the questions asked by your probation officer.

 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
 living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
 change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
 probation officer within 72 hours of becoming aware of a change or expected change.

 6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
 probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

 7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
 excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the
 probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such as
 your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If
 notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
 notify the probation officer within 72 hours of becoming aware of a change or expected change.

 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
 been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
 permission of the probation officer.

 9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
 anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
 such as nunchakus or tasers).

 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
 informant without first getting the permission of the court.

 12. You must follow the instructions of the probation officer related to the conditions of supervision.
                        Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 7 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                            Judgment—Page    7     of        10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must provide the probation officer with access to any requested financial information.

 2. You must not incur new credit charges or open additional lines of credit without the approval of the probation officer
 unless you are in compliance with the installment payment schedule.

 3. You shall submit your person, and any property, residence, vehicle, papers, computer, other electronic communication,
 data storage devices, cloud storage or media, and effects to a search by any United States Probation Officer, and if
 needed, with the assistance of any law enforcement. The search is to be conducted when there is reasonable suspicion
 concerning violation of a condition of supervision or unlawful conduct by the person being supervised. Failure to submit to
 a search may be grounds for revocation of release. You shall warn any other occupants that the premises may be subject
 to searches pursuant to this condition. Any search shall be conducted at a reasonable time and in a reasonable manner.

 4. If you are sentenced to any period of supervision, it is recommended that you be supervised by the district of residence.
                         Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 8 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       8    of         10
 DEFENDANT: ALEJANDRO PAULINO
 CASE NUMBER: 19 cr 00607 AJN-002
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 100.00                  $ 142,634.00           $                      $                           $


 G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage
  Bank of America                                                        $142,634.00               $142,634.00




 TOTALS                               $                 142,634.00              $             142,634.00


 ✔
 G     Restitution amount ordered pursuant to plea agreement $           142,634.00

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                       G fine    ✔ restitution.
                                                                         G
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                         Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 9 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      9      of      10
 DEFENDANT: ALEJANDRO PAULINO
 CASE NUMBER: 19 cr 00607 AJN-002

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 100.00
      G                                                         due immediately, balance due

            G     not later than                                    , or
            G     in accordance with     G C,       G D,       G E, or         G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
 G
      See Forfeiture Order as to Document #85 on ECF.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
                       Case 1:19-cr-00607-AJN Document 86 Filed 10/27/20 Page 10 of 10
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6A — Schedule of Payments
                                                                                               Judgment—Page   10   of     10
DEFENDANT: ALEJANDRO PAULINO
CASE NUMBER: 19 cr 00607 AJN-002

       ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                           Joint and Several            Corresponding Payee,
(including defendant number)                             Total Amount          Amount                      if appropriate

19 CR 607-001(AJN)                                                                                   Bank of America
Defendant - Alejandro Paulino                                $142,634.00           $142,634.00
Co-Defendant Marlene Tineo

19 CR 607-003(AJN)                                                                                   Bank of America
Defendant - Alejandro Paulino                                $142,634.00           $142,634.00
Co-Defendant Raysette Mercedes
